        Case 1:11-cv-00644-GMS Document 85 Filed 11/06/17 Page 1 of 2 PageID #: 589



I
            OrA. aq""'' , ?.on



            rJct^ic »X


                        rjV<^ />aA \/i s iv<^ -iiif!' fXiOiT-l' T k<=i.Mr' cixtK.i-'^-cA aAcAf^Sr-^-.
             Ti, —fk?                           CyA^II^^2-      PJ-JfiP^ f.-i „| 1   CT V/" (9tr(,t   j


                                                        o
                                                            V
                 Mv/    ^^g.UJ            5J-    l\
                   /
                                       C Pft^{?.0 caJaiRez o io^o'^nd                /


\                                 'y'
                                   y
                                                c'TcseX^'^'^. 1 \'^^H1
                                                  j

    \
0644-GMS Document 85 Filed 11/06/17 Page 2 of 2
